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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
                            SOUTHERN DIVISION


AMERICAN FEDERATION OF                      Case No. 8:25-cv-00430
TEACHERS, et al.,

             Plaintiffs,

      vs.

SCOTT BESSENT, et al.,

             Defendants.


                     DECLARATION OF BRIAN BRYANT

I, Brian Bryant, declare as follows:

  1.​ I am over the age of 18 and have personal knowledge of the facts in this
      declaration.

  2.​ I am the International President of the International Association of
      Machinists and Aerospace Workers (“IAM”). IAM is an international labor
      organization and unincorporated membership organization headquartered in
      Upper Marlboro, Maryland. IAM is one the largest and most diverse labor
      unions in North America with nearly 600,000 active and retired members.
      Among IAM’s affiliate organizations is the National Federation of Federal
      Employees (“NFFE”), which is a national labor organization and
      unincorporated membership organization headquartered in Washington, D.C.

  3.​ Together, IAM and NFFE represent more than 100,000 federal workers,
      approximately 13,000 of whom are dues-paying members, from agencies
      across the federal government. IAM and NFFE also represent many veterans



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    and veterans’ groups, advocate on their behalf, and assist them in receiving
    their benefits, among other services.

4.​ IAM and NFFE represent our federal sector members through negotiating
    collective bargaining agreements and assisting employees with enforcing
    them. We assert contractual and statutory rights on behalf of our federal
    sector members by filing grievances, unfair labor practice charges, or other
    complaints through our negotiated grievance procedure or with various
    federal agencies, including the Federal Labor Relations Authority, the Merit
    Systems Protection Board, the Office of Special Counsel, and the Federal
    Labor Relations Authority. IAM and NFFE file litigation on employees’
    behalf in the courts. We also advocate on Capitol Hill and in the media on
    issues of importance to federal workers and to veterans.

5.​ Both IAM and NFFE have Veterans Committees that advocate on behalf of
    our members who are veterans. Annually, the IAM sponsors two one-week
    educational classes. One class teaches our members how to start a Veterans
    Committee in their community to advocate for their issues in their home
    state. That class includes a component about what benefits veterans are
    entitled to receive. The second class focuses on training veteran members on
    how to assist each other in applying for benefits, while also educating them
    about the importance of maintaining confidentiality concerning the private
    records submitted to the government to obtain those benefits.

6.​ As part of our missions IAM and NFFE also provide extensive services
    applying for and securing payment of benefits to our members who are
    veterans. When veteran members are having difficulty obtaining the benefits
    they earned, we assist them and their family members in the preparation,
    presentation, and prosecution of claims of benefits with the Department of
    Veterans Affairs. Benefits include disability compensation, education,
    Veterans Readiness & Employment, home loans, life insurance, pensions,
    health care, and burial benefits. These claims include the most sensitive
    medical and financial information concerning the veteran, such as social
    security numbers, healthcare records, bank account information and dates of
    birth.

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7.​ Because federal employees and retirees have extensive amounts of
    personally identifiable information housed in their personnel records, federal
    payment systems, and student loan records, IAM and NFFE advocacy efforts
    include assisting their members in seeking redress for federal agencies’
    unlawful disclosures of members’ sensitive data.

8.​ For example, we frequently negotiate provisions in our collective bargaining
    agreements to protect the privacy and accuracy of employees’ personnel
    files by ensuring employees can access, review, and correct errors within
    their official personnel folders or any other regularly-maintained record or
    file regarding their employment. Personnel records are often the basis for
    calculating retirement eligibility or benefits, determining eligibility for
    career ladder promotions or within-grade increases in pay, assessing whether
    an employee has vested appeal rights and civil service protections upon
    completing a probationary period, and placement options in the event of a
    Reduction-in-Force.

9.​ IAM and NFFE negotiate into collective bargaining agreements rights for
    employees to have personally identifiable information and medical
    information provided only to federal employees with a business need to
    know. Employees who request reasonable accommodations in connection
    with their employment due to a health condition often need to submit
    medical records through processes the union negotiates to maintain
    confidentiality to the maximum extent possible. NFFE uses our National
    Consultation Rights at several agencies to comment on proposed changes to
    agency policies that impact our members’ sensitive data. IAM and NFFE
    regularly train and educate our members on their rights to maintain
    confidentiality, the extent of those rights, what the agency is lawfully
    permitted to solicit and maintain, and how to advocate for themselves in the
    workplace using union-negotiated procedures. NFFE and IAM file and
    pursue grievances, or litigation, like this one, when members’ privacy rights
    have been violated.




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10.​ I am aware of and can identify individual IAM and NFFE members who
     have federal student loan debt, and/or are federal employees, and/or who
     have records housed within OPM and Department of Education records
     systems and/or who are veterans whose personally sensitive data is
     submitted in the effort to receive benefits and receive payments from the
     United States Treasury. Specifically, I am aware of individual members with
     personally identifiable information contained in the payment systems of
     Treasury's Federal Disbursement Services; in the federal work files of OPM,
     including USAJOBS and the Electronic Official Personnel Folder, among
     others; and in the Department of Education’s National Student Loan Data
     Systems, Common Origination and Disbursement System, FUTURE ACT
     System, and Financial Management System.

11.​ I am aware that sensitive information about IAM and NFFE members is
     contained in these record systems, including Social Security numbers, bank
     account numbers, medical records, details of personal finances, and
     personnel information. Improper disclosure of this information increases the
     risk of access by external actors, doxxing, identity theft, invasion of personal
     privacy, and financial crimes against IAM and NFFE members. Introducing
     sensitive personal data into artificial intelligence systems enhances these
     risks.

12.​ I am not aware of any IAM or NFFE member who has requested or
     authorized DOGE or its representatives to access their personal data.

13.​ I am aware of and can identify individual members whose right to privacy
     has been violated by such disclosures.

14.​ I am aware of and can identify individual federal employee members who
     received an email from OPM on their federal agency account with the
     subject “Fork in the Road,” detailing a plan for federal employees to
     immediately resign their positions.

15.​ We have heard from members who are concerned about risks posed by
     DOGE and its representatives having access to their personally identifiable
     information. They are concerned about publication or exporting of their


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      personally identifiable information, including mail and email addresses,
      phone numbers, bank information, medical records and Social Security
      numbers. They fear exposure of their salary history, their job application
      history, and their disciplinary records. They fear their information could be
      exported for nefarious purposes, used in retaliation, or altered. Some
      members have told us that in addition to the identity theft and personal
      safety risks, they are concerned about the national security risk posed if their
      information were to make it into the hands of foreign governments like
      China. Our members have expressed concern that access by DOGE and its
      representatives to their personally identifiable information has made it
      possible for unauthorized surveillance and corruption of their home
      networks and personal devices.

I declare under penalty of perjury that the foregoing is true and correct.

Executed: February 12, 2025

                                                ____________/s/*___________
​     ​      ​      ​     ​      ​      ​       Brian Bryant

*Counsel hereby certifies that he has a signed copy of the foregoing document
available for inspection at any time by the court or a party to this action.




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